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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

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In re: : Chapter 11

FURNITURE BRANDS : Case No. 13-12329 (CSS)

INTERNATIONAL, INC., ef al., :
Jointly Administered

Debtors.'
RE: Docket Nos. 390, 392, 400, 414, 577
x and579

 

AGREED ORDER GRANTING MOTION OF THOMAS
O’BRIEN FOR RELIEF FROM THE AUTOMATIC STAY

Upon the motion of Thomas O’Brien (“Q’Brien”) seeking an order determining that the

 

automatic stay under section 362(a) of the Bankruptcy Code does not apply to his contractual
right to terminate his licensing agreement with HDM Furniture Industries, Inc. (“SHDM7”), dated
January 27, 1999 (as amended, the “Agreement”), or, in the alternative, granting O’ Brien relief
from the automatic stay for cause pursuant to section 362(d) of the Bankruptcy Code to authorize
O’Brien to terminate his Agreement with HDM [D.I. 390] (the “Motion”);* and upon the
companion Motion to Limit Notice and Schedule a Final Hearing [(D.I. 392]; and upon the Order
Limiting Notice and Setting Final Hearing (D.1. 400]; and this Court having the jurisdiction to
consider the Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and

1334; and proper notice and an opportunity to be heard having been giving under the

 

The debtors in these chapter 11 cases, along with the last four digits of each debtor’s tax identification

number, as applicable, are: Furniture Brands International, Inc. (7683); Action Transport, Inc. (7587); Broyhill
Furniture Industries, Inc. (3217); Broyhill Home Furnishings, Inc. (8844); Broyhill Retail, Inc. (8843); Broyhill
Transport, Inc. (1721); Furniture Brands Holdings, Inc. (2837); Furniture Brands Operations, Inc. (4908), Furniture
Brands Resource Company, Inc. (1288); HDM Furniture Industries, Inc. (7484); HDM Retail, Inc. (6125); HDM
Transport, Inc. (4378); Lane Furniture Industries, Inc. (5064); Lane Home Furnishings Retail, Inc. (9085);
Laneventure, Inc. (8434); Maitland-Smith Furniture Industries, Inc. (7486); Thomasville Furniture Industries, Inc.
(6574); Thomasville Home Furnishings, Inc. (3139); Thomasville Retail, Inc. (f/k/a Classic Design Furnishings,
Inc.) (6174). The Debtors’ corporate headquarters is located at 1 N. Brentwood Blvd., St. Louis, Missouri 63105.

2 Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.

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© circumstances; and the above-captioned debtors and debtors in possession (collectively, the
“Debtors”) having consented to the relief requested to the extent set forth below; and this Court
having determined that granting the relief requested in the Motion is appropriate under the
circumstances; and after due deliberation and sufficient cause appearing therefore,

IT IS HEREBY ORDERED THAT:

1. The Motion is granted to the extent set forth herein.

2. O’Brien is hereby granted relief from the automatic stay pursuant to section
362(d) of the Bankruptcy Code to permit O’Brien to deliver to HDM a notice of termination of
the Agreement, and to take any and all necessary actions related thereto, in accordance with the
terms of the Agreement.

3. Except for the relief granted herein, all rights of O’Brien, the Debtors, and other
parties in interest are reserved, including, but not limited to, the rights of the Debtors or other
parties in interest to: (i) challenge O’Brien’s rights under the Agreement or other applicable law
to terminate the Agreement; (ii) challenge O’ Brien’s election to terminate the Agreement; (iii)
object to any and all claims related to the Agreement; and (iv) investigate any potential action
and claims against O’Brien.

4. Any stay of this Order imposed by Federal Rule of Bankruptcy Procedure
4001(a)(3) is hereby waived.

5. This Court shall retain jurisdiction over any dispute as to the interpretation or
implementation of this Order.
Dated: November #8. 2013

Wilmington, Delaware

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CHRISTOPHER S. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

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